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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION


FORD MOTOR CREDIT CO., L.L.C.,                   )
                                                 )
                       Plaintiff,                )
                                                 )
v.                                               )
                                                 )
REAGOR-DYKES AMARILLO, L.P., et al.,             )
                                                 )
                       Defendants.               )   Civil Action No. 5:18-CV-186-C



                                    ORDER TO SHOW CAUSE

       Defendants Reagor-Dykes Amarillo, L.P., Reagor-Dykes Auto Company, L.P.,

Reagor-Dykes Floydada, L.P., Reagor-Dykes Imports, L.P., Reagor-Dykes Motors, L.P., and

Reagor-Dykes Plainview, L.P. filed a Suggestion of Bankruptcy on August 2, 2018. The Court

takes judicial notice that on August 1, 2018, each of these Defendants filed petitions for

bankruptcy under Chapter 11 of the United States Bankruptcy Code. Pursuant to Section 362 of

the Bankruptcy Code, an automatic stay is now in effect as to these Defendants and the hearing

scheduled for August 8, 2018, is VACATED as to each of these defendants.

       The Court notes that Defendants Reagor-Dykes II, L.L.C., Reagor-Dykes Auto Mall I,

L.L.C., Reagor-Dykes III, L.L.C., Bart Reagor, and Rick Dykes are not included in the

Suggestion of Bankruptcy and do not appear to have filed any bankruptcy petitions in the United

States Bankruptcy Court.
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       Therefore, the parties are ORDERED TO SHOW CAUSE why the hearing scheduled

for August 8, 2018, should not also be vacated as to the named defendants not included in the

Suggestion of Bankruptcy. Responses shall be filed by 10:00 a.m. on Monday, August 6, 2018.

       SO ORDERED this 3rd day of August, 2018.




                                            SAM R. CUMMINGS
                                            SENIOR UNITED STATES DISTRICT JUDGE




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